                    IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION


United States of America,                        )
                                   Plaintiff,    )
vs.                                              ) No. 98-0149-02-CR-W-FJG
Xavier Lightfoot,                                ) No. 00-0395-04-CR-W-FJG
                                   Defendant.    )


                                          ORDER
       The motion to increase hourly rate (Doc. #850), filed June 8, 2005, is sustained.
The hourly rate of compensation for Charles Rogers and Cheryl Pilate is increased to
$160.00 per hour, pursuant to the Fiscal Year 2005 Omnibus Appropriations Act. This
hourly rate shall apply to that portion of services provided on or after February 1, 2005.




                                                 /s/Fernando J. Gaitan, Jr.
                                                 Fernando J. Gaitan, Jr.
                                                 United States District Judge

Dated:   June 13, 2005
Kansas City, Missouri




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